Filed 8/23/24 Chen v. Cui CA2/1
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                      SECOND APPELLATE DISTRICT

                                    DIVISION ONE


 DORA CHEN,                                                       B330808
          Plaintiff and Respondent,
                                                                  (Los Angeles County
     v.                                                           Super. Ct. No. 20PDRO00836)
 YING CUI,
          Defendant and Appellant.


      APPEAL from an order of the Superior Court of Los
Angeles County. Timothy Martella, Judge. Affirmed with
directions.
      David F. Schmidt, for Defendant and Appellant.
      Dora Chen, in pro. per., for Plaintiff and Respondent.
             ___________________________________
       Ying Cui appeals from a civil harassment restraining order
enjoining her from contacting her neighbors, contending
insufficient evidence supports the order, which in any event
violates the Code of Civil Procedure and is overbroad. We find no
merit in these contentions and affirm with directions to conform
the restraining order to the trial court’s bench ruling.
                          BACKGROUND
       On August 7, 2020, Dora Chen petitioned the Los Angeles
Superior Court for a civil harassment restraining order against
Cui, her next-door neighbor, alleging several incidents of
harassment in 2019 and 2020. As pertinent here, Chen alleged
Cui brandished a stun gun at her husband in 2019 and a revolver
at her and her eight-year-old son on July 30, 2020. (Cui was
arrested for brandishing the revolver.) Chen requested that Cui
be ordered to stay at least 20 yards away from her and her family
members, their home, car and workplace, and the children’s
school.
       The court issued a temporary restraining order (TRO) to
this effect on August 10, 2020, without a hearing, ordering Cui to
stay at least 20 yards away from Chen and her home. The order
also stated that it did “not prevent [Cui] from going to or from
[her] home.” The TRO was set to expire on September 1, 2020.
       Proceedings to determine whether the TRO should be made
permanent were continued nine times at Cui’s request while her
criminal matter proceeded. That matter was ultimately
dismissed after Cui completed a 26-week anger management
program.
       The civil matter was heard on April 10, 2023, two years and
eight months after the gun incident. At the beginning of the
hearing the trial court offered Cui the use of a translator, as had




                                2
been provided in her criminal proceedings, but Cui declined the
offer, representing her English was adequate for the proceeding.
       Chen testified that during disputes over trimming and
watering shrubbery at a common fence line, Cui brandished a
stun gun at her husband in 2019 and a revolver at her and her
eight-year-old son on July 30, 2020. In the first incident, Chen
testified, Cui activated the stun gun in a threatening manner,
saying, “It’s not for you, it’s for your dog.” Cui was standing on a
ladder on her own property, and Chen and her family were on
their property, separated by a tall chain link fence. In the second
incident, with the families again on their respective properties,
Chen testified that Cui waved and pointed an “old fashioned
revolver” at her and her young son. When Chen asked, “Are you
pointing a gun at me?” Cui replied, “It’s not for you, it’s for your
husband.”
       Scott Warren, Chen’s husband, testified that during the
stun gun incident, Cui “produced a hand-held device that emitted
a spark [and] had two points on it.” “It was very loud, and it had
a blue spark,” he testified, and Cui was “thrusting it at” his
family, albeit from behind a chain link fence and too far away to
make contact. Warren testified that during the revolver incident,
Cui “was waving this gun and yelling and screaming” and
“pointing it at” Chen and their son.
       Cui testified that hers and Chen’s properties were
separated by a fence, with Chen’s property 15 feet higher in
elevation than Cui’s, such that someone standing on an eight-foot
ladder on Cui’s side would still be below the ground level of
Chen’s side. She never pointed a gun at Chen or her family, Cui
testified, but she did once activate a stun gun to drive away
Warren’s corgi, which he had sicced on her while she was pruning




                                 3
a persimmon tree at the shared fence line. Cui denied having
anger management issues and stated that even her anger
management counselors admitted she had none.
      To impeach Chen’s testimony, Cui presented a transcript of
Chen’s police interview, in which she said Cui “waved” the gun at
her from 30 feet away, and contrasted it with her petition,
wherein she alleged Cui “pointed” the gun at her from point
blank range. Cui also observed that in Chen’s interview, she said
Cui pointed the gun at her (although she could not remember in
which hand Cui allegedly held the gun), but in her petition she
alleged Cui pointed it at both her and her son. Finally, Cui
presented evidence that in Chen’s police interview, which
occurred at her home, Chen demonstrated that she could not see
down into Cui’s yard unless she leaned over to look through the
chain link fence. Cui presented supporting photographs of the
layout of the property, fence, and shrubbery.
      Cui offered several incident reports concerning other
disputes between the families to establish context for the instant
dispute, but the court deemed most of them to be irrelevant.
Schmidt, Cui’s husband and attorney, offered to testify about
Warren shouting at Cui during the gun incident but the court
found any such evidence would be irrelevant.
      In closing, Cui argued that Chen was not a credible
witness, as evidenced by the discrepancies between her police
interview and TRO petition, and by her failure to disclose the
things her family had done to Cui’s family in the past. Cui
argued that a 20-yard stay away order would prevent her from
using her own property, but if the court found good cause to issue
such an order, it should run only for three years from the July 30,
2020 gun incident, i.e., for another four months.




                                 4
       The court found that Cui “waved [a] gun toward people on
the other side of the fence” in 2020, “waved the gun at the
petitioner in a threatening manner,” and attempted to intimidate
her with a stun gun in 2019. It stated that because the parties
were separated by “a gigantic fence that the dog could not get
over,” Cui had “no reasonable reason” to activate the stun gun
other “than to intimidate the people on the other side of the fence
and/or the dog.” The court found Cui was not remorseful and had
learned little in her anger management classes.
       At the conclusion of the hearing, the court stated it would
issue a civil harassment restraining order to run for three years
from the date of the hearing, including a 20-yard stay-away
order. The court informed Cui, “[Y]ou can do anything within the
boundaries of your property that are legal. Meaning you can go
right up to the property line. And if the trimming you wish to do
you feel is legal and it is legal, you’re free to do that.”
       Thereafter, the court signed and issued a civil harassment
restraining order to run for three years from the date of the
hearing. It included a 20-yard stay-away order as well as a
provision that “[t]his stay-away order does not prevent you from
going to or from your home or place of employment.”
                                DISCUSSION
       Cui contends the restraining order is unsupported by
substantial evidence and is overbroad because it restrains her for
more than the five years allowed by Code of Civil Procedure
section 527.6, and because its 20-yard stay-away order prevents
her from living at her own residence.1



      1 Undesignated statutory references are to the Code of Civil

Procedure.




                                 5
A.     Legal Principles
       A person who has suffered harassment may seek “a
temporary restraining order and an order after hearing
prohibiting harassment.” (§ 527.6, subd. (a)(1).) “Harassment”
includes “a knowing and willful course of conduct directed at a
specific person that seriously alarms, annoys, or harasses the
person, and that serves no legitimate purpose. The course of
conduct must be that which would cause a reasonable person to
suffer substantial emotional distress, and must actually cause
substantial emotional distress to the petitioner.” (§ 527.6, subd.
(b)(3).) A “ ‘[c]ourse of conduct’ is a pattern of conduct composed
of a series of acts over a period of time, however short, evidencing
a continuity of purpose . . . .” (Id., subd. (b)(1).) Although not
expressly provided in section 527.6, case law has established that
“[a]n injunction restraining future conduct” under that statute “is
only authorized when it appears that harassment is likely to
recur in the future.” (Harris v. Stampolis (2016) 248 Cal.App.4th
484, 499 (Harris).)
       Section 527.6 distinguishes between a “temporary
restraining order” and an “order after hearing.” (See, e.g.,
§ 527.6, subd. (a)(2) [referring to “a temporary restraining order
or order after hearing, or both”].) A TRO “may be issued with or
without notice, based on a declaration that, to the satisfaction of
the court, shows reasonable proof of harassment of the petitioner
by the respondent, and that great or irreparable harm would
result to the petitioner.” (§ 527.6, subd. (d).) Such an order shall
remain in effect for up to 21 days unless otherwise modified by
the court. (§ 527.6, subd. (f).)




                                 6
       The trial court may thereafter issue a civil harassment
restraining order if it “finds by clear and convincing evidence that
unlawful harassment exists.” (§ 527.6, subds. (g), (i).)
       “We review issuance of a protective order for abuse of
discretion, and the factual findings necessary to support the
protective order are reviewed for substantial evidence.” (Parisi v.
Mazzaferro (2016) 5 Cal.App.5th 1219, 1226 (Parisi), disapproved
on other grounds by Conservatorship of O.B. (2020) 9 Cal.5th
989.) “When reviewing a finding that a fact has been proved by
clear and convincing evidence, the question before the appellate
court is whether the record as a whole contains substantial
evidence from which a reasonable fact finder could have found it
highly probable that the fact was true. In conducting its review,
the court must view the record in the light most favorable to the
prevailing party below and give appropriate deference to how the
trier of fact may have evaluated the credibility of witnesses,
resolved conflicts in the evidence, and drawn reasonable
inferences from the evidence.” (O.B., at pp. 1011-1012.) In
deferring to the trier of fact’s determinations as to the credibility
and weight of the evidence, we disregard evidence contrary to the
judgment. (Schmidt v. Superior Court (2020) 44 Cal.App.5th 570,
582 (Schmidt).)
       “Whether the facts are legally sufficient to constitute civil
harassment within the meaning of section 527.6 is a question of
law reviewed de novo.” (Parisi, supra, 5 Cal.App.5th at p. 1226.)
B.     Application
       1.     Substantial Evidence Supports the Restraining
       Order
       Here, substantial evidence indicated that Cui knowingly
and willfully engaged in a course of conduct directed at Chen that




                                  7
seriously alarmed and harassed her and served no legitimate
purpose, a course of conduct that would cause a reasonable
person to suffer substantial emotional distress and actually
caused Chen such distress. Chen and Warren testified that Cui
activated a stun gun in an intimidating manner in the presence
of Chen’s family in 2019, and waived or pointed a revolver at
Chen and her son in 2020. The trial court implicitly found Chen’s
and Warren’s testimony to be credible.
       “[T]he testimony of a single witness, even a party, may
alone constitute substantial evidence.” (Chase v. Wizmann (2021)
71 Cal.App.5th 244, 257.) Although Cui provided contrary
testimony and disputed Chen’s version of events, under the
applicable standard of review we disregard that contrary
evidence. (See Schmidt, supra, 44 Cal.App.5th at p. 582.)
       Although the trial court made no express finding that the
harassment was likely to recur, “[a]bsent indication to the
contrary . . . we must presume that the trial court followed the
applicable law and understood that it was required to find that
future harm was reasonably probable.” (Harris, supra, 248
Cal.App.4th at p. 500.) This implicit finding of probable future
harm was also supported by substantial evidence. The parties’
testimony established an ongoing and escalating tension between
the families, so the 2020 gun incident, although the first of its
kind between the parties, was not an isolated incident. Further,
the parties are neighbors sharing a property line, so it is very
likely they will continue to encounter one another. Under these
circumstances, substantial evidence supported the trial court’s
conclusion that two incidents of intimidation justified restraint of
Cui’s future conduct.




                                 8
       Cui argues Chen was not a credible witness because her
memory was demonstrably faulty, statements she made to police
diverged from those she alleged in her petition and repeated at
trial, and the physical layout of the adjoining properties made
Chen’s version of events infeasible. For example, Chen told
police only that Cui waved a gun at her from 30 feet away but
alleged in her petition that Cui pointed the gun at her and her
son from point blank range. Moreover, Chen could not remember
in which hand Cui allegedly held the gun, and in any event, the
15-foot difference in elevation between the properties made it
improbable that Chen even saw a gun in Cui’s hand, much less
felt harassed by it.
       These were all factual matters to be resolved by the trier of
fact. A discrepancy in a witness’s statement might reflect an
effort to deceive, but it might simply reflect a changing memory
or interpretation. Few people can repeat a narrative the exact
same way in successive retellings. Determining whether a
discrepancy reflects the witness’s deception or an honest mistake
requires observation of the demeanor of the witness and
evaluation of the depth of the discrepancy relative to all the
circumstances, both of which are within the trial court’s purview.
       Here, the purported discrepancies in Chen’s statements
were minimal. There is no real difference between a person
waving a gun at someone and pointing one, as both actions are
designed to intimidate and harass. Nor, when a gun is involved,
is there any real difference between point blank range and a
range of 15 feet. In either case the aggressor’s behavior serves no
legitimate purpose and the target’s apprehension is objectively
reasonable. Chen’s first statement about Cui pointing a gun at
her and the second statement about Cui pointing it at both Chen




                                 9
and her son do not even amount to a discrepancy, as both could
be true. (Chen did not tell police that Cui brandished the gun
only at her.) Finally, just because Chen did not remember in
which hand Cui held the gun—an immaterial detail—did not
compel the factfinder to conclude her memory was so
untrustworthy as to make her testimony incredible.
       In short, whether vagaries in Chen’s testimony impugned
her credibility was a matter for the finder of fact. We do not
reweigh evidence on appeal.
       Cui argues that Chen failed to prove her allegations that
Cui “pointed” a gun at her at “point blank” range. This was not
required. Chen was required only to prove “a knowing and
willful course of conduct directed at a specific person that
seriously alarms, annoys, or harasses the person, and that serves
no legitimate purpose.” (§ 527.6, subd. (b)(3).) Cui waving a gun
at Chen from 15 feet away constituted sufficient harassment to
support the restraining order.
       Cui argues that Chen failed to prove more than one
incident of harassment and failed to prove future harm was
likely. We disagree. Chen proved two instances of harassment,
not one. From these incidents and the neighbors’ proximity and
Cui’s lack of remorse, the trial court could reasonably find that
future harm was likely. Cui argues that the stun gun incident
was an exercise of self-protection, as it was possible for Warren’s
corgi to squeeze through a gap in the fence separating his and
Cui’s property. But the trial court found Cui activating the stun
gun was not directed at the dog but was instead an attempt to
intimidate Chen. Whether Cui was protecting herself or trying to
intimidate Chen is another factual question we may not revisit on
appeal.




                                10
       Cui argues the trial court improperly refused to consider (1)
evidence of prior disputes between Warren and Cui, (2) evidence
that Warren shouted at Cui, and (3) evidence of “mitigating”
factors such as Cui’s good character and employment, all of which
was relevant to Cui’s “right to self-protection.” We disagree.
       Absent a statutory exception, only relevant evidence is
admissible. Evidence is relevant if it has any tendency in reason
to prove or disprove any disputed fact of consequence to the
determination of an action. (Evid. Code, § 210.) “We review the
trial court’s rulings regarding the admissibility of the evidence
for an abuse of discretion. [Citation.] A trial court’s decision to
admit or exclude evidence ‘ “ ‘will not be disturbed unless there is
a showing that the trial court acted in an arbitrary, capricious, or
absurd manner resulting in a miscarriage of justice.’ ” ’ ” (People
v. Mataele (2022) 13 Cal.5th 372, 413-414.)
       Here, the issue was whether Cui brandishing a stun gun
and revolver at Chen and her family constituted harassment.
That she did so to defend herself against Chen and Warren was
irrelevant, for two reasons. First, no dispute between Warren
and Chen on the one side and Cui on the other justified Cui
brandishing either a stun gun or revolver, as no evidence
suggested Warren or Chen either had physically attacked or
threatened to attack her. Similarly, no amount of shouting by
Warren at Cui during the gun incident justified Cui brandishing
a gun at Chen. (Cui did not contend that Warren shouted at her
when she brandished the stun gun.) And no justification existed
for Cui to brandish a weapon at Chen’s children. Therefore, the
trial court could reasonably conclude that Cui’s self-defense
claim, and her good character and employment record, had no
tendency in reason to disprove Chen’s harassment claim.




                                11
      2.      The Order is Not Overbroad
              a.    The order does not restrain Cui for more
              than three years
       Cui argues the civil harassment restraining order is
overbroad in duration, as it extends to more than five years from
the date of either the gun incident or the TRO. We disagree.
       A civil harassment restraining order “issued after notice
and hearing . . . may have a duration of no more than five years.”
(§ 527.6, subd. (j)(1).) Here, the civil harassment restraining
order has a duration of three years. This is permissible.
       Cui grounds her argument on a calculation from the date of
the incident of which Chen complained, or at least from the date
of the TRO. She offers no authority supporting such a
calculation, and we have discovered none. On the contrary,
subdivision (j)(1) of section 527.6 states the “order,” meaning the
civil harassment restraining order, which may be issued only
“after notice and hearing,” shall have a duration of no more than
five years. The clear implication is that the five-year period
begins to run from the date the civil harassment restraining
order is issued, not the date of any underlying incident or of the
TRO.2




      2 To be sure, the restraint effected by both the TRO

(approximately two and a half years from the date of the
incident) and the civil harassment restraining order (another
three years) added up to more than five years, but the delay was
of her own choosing, as she requested nine times that the
injunction hearing be postponed while her criminal matter
proceeded to its conclusion.




                                12
             b.    The order does not prevent Cui from
             using her residence
       Cui argues the restraining order impermissibly prevents
her from occupying her own home. She bases this contention on
the fact that, prior to the hearing, various iterations of the
temporary restraining orders included language similar to the
judge’s oral statement quoted above, to the effect that the stay
away order did not prevent Cui from using her property, yet the
final written order did not include similar language. Respondent
contends that the record is clear that the trial court confirmed to
Cui that she was free to use and occupy her property and that
this was “understood by both parties.”
       We disagree with the premise of Cui’s argument because
the final order is most fairly read as permitting Cui to occupy and
use her home. It is true that the civil harassment restraining
order enjoins Cui to stay at least 20 yards away from Chen and
her family and it is also true that the families live in such close
proximity that the 20 yard boundary would extend onto Cui’s
property. However, the order also provides that “[t]his stay-away
order does not prevent you from going to or from your home or
place of employment.” We construe this provision as limiting the
stay-away order and permitting Cui to not only go to and from
her home but also to engage in any lawful activity while there, as
the trial court explained at the hearing. Nevertheless, because
this limitation, which is standard language in the Judicial
Council form mandated for use in civil harassment restraining
order cases, may be misunderstood in the context of this case,
and in the interest of providing clarity for the parties as well as
any law enforcement officials who may be called upon to enforce




                                13
the order, we will direct the trial court to conform the restraining
order to its bench ruling.
             c.    The restraints are reasonable
       Cui argues that the restraining order, which enjoins her to
stay away from Chen’s car, place of employment and children’s
school, and bars her from communicating with Chen and her
family by letter, email or text, is overbroad because nothing in
the record suggests Cui ever encroached or considered
encroaching on Chen or her family in these manners. No
authority of which we are aware limits a trial court’s discretion to
restrain a harassing party only in the specific vectors of past
harassment. Because Cui adduces no authority to support her
argument, we deem the issue forfeited. (See, e.g., Benach v.
County of Los Angeles (2007) 149 Cal.App.4th 836, 852 [failure to
develop a claim with reasoned legal argument and supporting
authority forfeits the issue].)
C.     Conduct of the Hearing
       Cui argues the trial court exhibited “some sort of improper
animus, bias, or . . . discrimination” because it prevented her
from reading prepared statements from the witness stand, which
she argues was essential for her defense, “especially with her
language limitations.” We disagree. At the beginning of the
hearing the trial court asked whether Cui needed a translator, as
she had had in her criminal proceedings. Cui and Schmidt said
there was no need, representing that her English was adequate.
She cannot now complain that she needed a translator to testify.
And no authority obligates a trial court to permit a witness to
read from prepared statements.
       Cui argues without citation to the reporter’s transcript that
the trial court cut off much of her testimony and angrily dressed




                                14
her down “with a baseless accusation that she had learned
nothing from her anger management classes.” Because Cui
supports the argument with no cogent argument or specific
citations to the record, we deem it forfeited. (See Nwosu v. Uba
(2004) 122 Cal.App.4th 1229, 1245, fn. 14.) In any event, as
discussed above, the court enjoys broad discretion to restrict
evidence to relevant, material matters. The bare fact that the
court curtailed testimony does not suggest an abuse of that
discretion. We have read the entire reporter’s transcript and
discern nothing untoward in the court’s conduct of the hearing.
                             DISPOSITION
       The order granting an injunction under Code of Civil
Procedure section 527.6 is affirmed with directions to conform the
stay-away order to the trial court’s oral clarification at the
hearing concerning Cui’s ability to engage in any legal activities
within the boundaries of her property. Chen is awarded costs on
appeal.
       NOT TO BE PUBLISHED



                                                 KELLEY, J.*

We concur:



             BENDIX, Acting, P. J.               WEINGART, J.


      * Judge of the San Luis Obispo County Superior Court,

assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.




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